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                     EXHIBIT I
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            14-1709, Document
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              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                October 2, 2017


Clerk
United States Court of Appeals for the Second
Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007


      Re: Royce Corley, aka Ron Iron
          v. United States
          No. 17-5079
          (Your No. 14-1709)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                        Sincerely,




                                        Scott S. Harris, Clerk
